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                                                                     12                            UNITED STATES DISTRICT COURT
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                                                                     13                           CENTRAL DISTRICT OF CALIFORNIA
             L.L.P.




                                                                     14
                                                                     15   Stella Lemberg, Jeni Laurence,             Case No. 5:17-cv-02102-AB-SHK
                                                                          Amandra Bluder, and Carissa Stuckart,
                                                                     16   Dana Apana, Karen Moss Brown,              Hon. André Birotte Jr., Ctrm. 7B
                                                                          Shannon Carrillo, Samantha Hall,           Mag. Judge Shashi H. Kewalramani,
                                                                     17   Natalie Lien, Melissa Atkinson, Aki        Ctrm. 3/4
                                                                          Berry, Cheryl Hayton, Tiffany
                                                                     18   Scheffer, Lora Haskett, Ashley Healy,      Defendants’ Motion to Compel
                                                                          Jocelyn Burke-Craig, Brittany Bianchi,     Plaintiffs to Individually Arbitrate
                                                                     19   Kerry Tighe-Schwegler, Jini Patton,        and to Dismiss or Stay This Action;
                                                                          Laura Rocke, Stephenie McGurn, and         Memorandum of Points and
                                                                     20   Peggy Johnson, on Behalf of                Authorities
                                                                          Themselves and All Others Similarly
                                                                     21   Situated,                                  9 U.S.C. §§ 2-4; FRCP 12(b)(1)
                                                                     22                      Plaintiffs,             Date:    April 6, 2018
                                                                                                                     Time:    10:00 a.m.
                                                                     23            v.                                Ctrm:    7B
                                                                     24   LuLaRoe, LLC d/b/a LuLaRoe, a
                                                                          California limited liability company,
                                                                     25   LLR, Inc., a Wyoming corporation,
                                                                          Mark Stidham; DeAnne Brady a/k/a
                                                                     26   DeAnne Stidham; and DOES 1-10,
                                                                          inclusive
                                                                     27
                                                                                             Defendants.
                                                                     28

                                                                          4824-4927-6254.1                                    MOTION TO COMPEL ARBITRATION
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                                                                   1             TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
                                                                   2             PLEASE TAKE NOTICE that on April 6, 2018, at 10:00 a.m., or as soon
                                                                   3    thereafter as counsel may be heard in Department 7B of the above-entitled court,
                                                                   4    located at 350 West First Street, Los Angeles, California 90012, Defendants
                                                                   5    LuLaRoe, LLC, LLR, Inc., Mark Stidham, and DeAnne Brady (collectively
                                                                   6    referred to as “Defendants”; and LuLaRoe, LLC and LLR, Inc. collectively referred
                                                                   7    to as “LLR”), will, and hereby do, move the court for an order: (1) compelling
                                                                   8    Plaintiffs Stella Lemberg, Jeni Laurence, Amandra Bluder, Carissa Stuckart, Dana
                                                                   9    Apana, Karen Moss Brown, Shannon Carrillo, Samantha Hall, Natalie Lien,
                                                                   10   Melissa Atkinson, Aki Berry, Cheryl Hayton, Tiffany Scheffer, Lora Haskett,
                                                                   11   Ashley Healy, Jocelyn Burke-Craig, Brittany Bianchi, Kerry Tighe-Schwegler, Jini
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                                                                   12   Patton, Laura Rocke, Stephenie McGurn, and Peggy Johnson (together,
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                                                                   13   “Plaintiffs”) to arbitrate on an individual basis their claims against Defendants in
             L.L.P.




                                                                   14   accordance with each Plaintiff’s agreement with LuLaRoe, LLC or LLR, Inc. and
                                                                   15   related dispute resolution procedures, and (2) dismissing Plaintiffs’ First Amended
                                                                   16   Class Action Complaint (the “Complaint”) for: (a) failure to arbitrate the dispute,
                                                                   17   and (b) failure to mediate, which is a condition precedent to arbitrate. In the
                                                                   18   alternative, Defendants move the court for an order staying this action pending
                                                                   19   arbitration and ordering the Plaintiffs to arbitrate on an individual basis in
                                                                   20   accordance with the parties’ arbitration agreements and related dispute resolution
                                                                   21   procedures.
                                                                   22            Defendants make this motion under 9 U.S.C. §§ 2-4 and Federal Rule of
                                                                   23   Civil Procedure 12(b)(1) on the ground that the parties have agreed that all such
                                                                   24   matters must proceed first by mediation, and then by arbitration.
                                                                   25            This motion is made following multiple conferences of counsel pursuant to
                                                                   26   Local Rule 7-3, which most recently took place on March 2, 2018.
                                                                   27            Defendants’ motion is based on this Notice of Motion and Motion, the
                                                                   28   attached Memorandum of Points and Authorities, the concurrently filed

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                                                                   1    Declarations of Justin Lyon, Megan Alvarez, Grace Nicole Santillana, Austin
                                                                   2    Stidham, Mark Stidham, Summer Johnson, Elizabeth M. Weldon, Alejandro
                                                                   3    Angulo, and William Floratos, the pleadings and papers on file in this action, and
                                                                   4    on such other and further argument and evidence as the Court may properly receive.
                                                                   5    Dated: March 9, 2018                       SNELL & WILMER L.L.P.
                                                                   6
                                                                   7                                               By: /s/Elizabeth M. Weldon
                                                                                                                      William S. O’Hare
                                                                   8                                                  Steven T. Graham
                                                                                                                      Elizabeth M. Weldon
                                                                   9                                                  Jenny Hua
                                                                                                                      Attorneys for Defendants
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                                                                                                                      Stidham, and DeAnne Brady
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                                                                   1                            Memorandum of Points and Authorities
                                                                   2    I.       INTRODUCTION
                                                                   3             This is a putative class action now brought by twenty-two individual retailers
                                                                   4    against LLR, Inc., a rapidly growing seller of the LuLaRoe brand of clothing and
                                                                   5    fashion apparel, related company LuLaRoe, LLC, and founders Mark Stidham and
                                                                   6    DeAnne Brady. The essence of Plaintiffs’ claims is that Defendants: breached their
                                                                   7    contracts with Plaintiffs, changed or failed to abide by their policies governing the
                                                                   8    return and repurchase of inventory, operate an unlawful pyramid scheme, and
                                                                   9    violated California state law, including the Seller Assisted Marketing Plan Act, the
                                                                   10   Unfair Competition Law, and the Unfair Advertising Law.
                                                                   11            Defendants deny the merits of these claims and will demonstrate on another
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                                                                   12   day (before one or more arbitrators) that LLR’s success is built on tremendous
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                                                                   13   demand by the consumers who buy its products, and not on Plaintiffs’ made up
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                                                                   14   pyramid scheme. By this motion, Defendants seek to enforce the parties’ mutual
                                                                   15   agreement to individually mediate, then arbitrate, their disputes.
                                                                   16   II.      FACTUAL BACKGROUND
                                                                   17            A.        LLR and LuLaRoe
                                                                   18            LLR, Inc. is an apparel company that sells clothing and fashion apparel at
                                                                   19   wholesale prices to independent consultants or retailers (“Retailers”) who, in turn,
                                                                   20   resell these items to third-party customers. [Declaration of Mark Stidham (“M.
                                                                   21   Stidham Decl.”) ¶ 4.] The Retailers sell these items through in-home parties,
                                                                   22   pop-up stores, and social media solely controlled by them at prices set by them.
                                                                   23   [Id.] Each Retailer is an independent contractor. [Id.; Declaration of Justin Lyon
                                                                   24   (“Lyon Decl.”) ¶ 3, Ex. 27 at § 2 (Ret. Agmt. version 3.0), ¶ 4, Ex. 28 at § 2 (Ret.
                                                                   25   Agmt. version 4.0) and ¶ 5, Ex. 29 at § 4 (Ret. Agmt. version 6.5.1).]
                                                                   26            The LuLaRoe-branded business started in 2013 (under LuLaRoe, LLC
                                                                   27   originally) as a small scale operation and has experienced tremendous growth,
                                                                   28   expanding the Retailer network to all 50 states and abroad, and it now has

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                                                     1   approximately 63,000 Retailers. [M. Stidham Decl. ¶ 5.] After LLR, Inc. was
                                                     2   formed in 2015, the LuLaRoe-branded business continued via LLR, Inc., and
                                                     3   LuLaRoe, LLC became a provider of management services to LLR, Inc. [Id. ¶¶ 6,
                                                     4   7.] Today, LLR, Inc. contracts with the Retailers, and it also contracts with its
                                                     5   related company, LuLaRoe, LLC, which provides certain management services to
                                                     6   LLR, Inc., including consulting, employment, and staffing services, as well as
                                                     7   maintenance of business records and reports. 1 [Id. ¶¶ 4, 6.]
                                                     8            B.        The Arbitration Provisions
                                                     9            Each Retailer enters into a LuLaRoe Independent Consultant Program
                                                    10   Application and Agreement (“Retailer Agreement”).2 [Declaration of Megan
                                                    11   Alvarez (“Alvarez Decl.”) ¶ 3.] In the body of Retailer Agreement versions 4.0 and
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                                                    12   6.5.1 (signed by all Plaintiffs except for McGurn and Patton), the parties agreed to
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                                                    13   arbitration:
                                                    14            In the event of a dispute between Consultant and LLR arising from or
                                                    15            relating to the Agreement, or the rights and obligations of either party,
                                                    16            the parties shall attempt in good faith to resolve the dispute through
                                                    17            nonbinding mediation as more fully described in the Policies and
                                                    18            Procedures. LLR shall not be obligated to engage in mediation as a
                                                    19            prerequisite to disciplinary action against Consultant. If the parties are
                                                    20            unsuccessful in resolving their dispute through mediation, the dispute
                                                    21            shall be settled totally and finally by arbitration as more fully
                                                    22            described in the Policies and Procedures.
                                                    23   [Lyon Decl. ¶ 5, Ex. 29 (Ret. Agmt. version 6.5.1) § 25; ¶ 4, Ex. 28 (Ret. Agmt.
                                                    24   version 4.0) § 21 (minor variations in wording).]
                                                    25            In addition, all versions of the Retailer Agreement (including those of
                                                    26
                                                         1
                                                    27     Before LLR, Inc. was created, LuLaRoe, LLC contracted with Retailers. [Lyon
                                                         Decl.,
                                                         2
                                                                ¶ 3, Ex. 27.]
                                                    28     The Retailer Agreements refer to “Consultants”, but LLR now commonly refers to
                                                         these parties as Retailers and uses this term in this motion. [Alvarez Decl. ¶ 3.]
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                                                     1   Plaintiffs McGurn and Patton) explicitly incorporate LLR, Inc.’s Policies and
                                                     2   Procedures and related amendments, which contain an agreement to arbitrate.
                                                     3   [Lyon Decl. ¶ 3, Ex. 27 (Ret. Agmt. version 3.0 at § 13 (“. . . this Agreement shall
                                                     4   include: (i) The LuLaRoe Policies and Procedures; (ii) The LuLaRoe Compensation
                                                     5   Plan . . . all of which are hereby incorporated herein by reference.”)); ¶ 4, Ex. 28
                                                     6   (Ret. Agmt. version 4.0 at § 15 (minor variations in wording)); and ¶ 5, Ex. 29 (Ret.
                                                     7   Agmt. version 6.5.1 at § 11 (same)).] The Policies and Procedures were amended
                                                     8   by a First Amendment to Policies and Procedures of LLR, Inc. (“First
                                                     9   Amendment”), dated October 12, 2016, which changed the venue and choice of law
                                                    10   for arbitration from Wyoming to California. [Lyon Decl. ¶ 7, Ex. 31.]
                                                    11            The Policies and Procedures contain detailed arbitration and mediation
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                                                    12   provisions. As a first step, the parties agreed to attempt to resolve their disputes
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                                                    13   through mediation. [Lyon Decl. ¶ 6, Ex. 30 (Policies and Procedures) § 6.3.]
                                                    14   Plaintiffs ignored their agreement to individually mediate, and thus far have ignored
                                                    15   or refused Defendants’ demand they do so. [Declaration of Elizabeth M. Weldon
                                                    16   (“Weldon Decl.”) ¶¶ 2-11, Exs. 11-24; Declaration of Alejandro Angulo ¶¶ 3-8,
                                                    17   Exs. 3-10; Declaration of William Floratos ¶ 2, Ex. 2.]
                                                    18            The arbitration provision, at section 6.4, is more than one full page, is clearly
                                                    19   labeled “Arbitration,” and reads (emphasis in the original):
                                                    20            If mediation is unsuccessful, any controversy or claim arising out
                                                    21            of or relating to the Agreement, or the breach thereof, shall be
                                                    22            settled by arbitration. The Parties waive all rights to trial by jury
                                                    23            or to any court. The arbitration shall be filed with, and administered
                                                    24            by, the American Arbitration Association (“AAA”) or JAMS under
                                                    25            their respective rules and procedures. The Commercial Arbitration
                                                    26            Rules and Mediation Procedures of the AAA are available at the
                                                    27            AAA’s website at www.adr.org. The Streamlined Arbitration Rules &
                                                    28            Procedures of JAMS are available at the JAMS website at

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                                                     1            www.jamsadr.com. Copies of the AAA’s Commercial Arbitration
                                                     2            Rules and Mediation Procedures or JAM’s Streamlined Arbitration
                                                     3            Rules & Procedures will be emailed to Independent Fashion
                                                     4            Consultants upon request to LLR’s Legal & Compliance Department.
                                                     5            Notwithstanding the rules of the AAA or JAMS, the following shall
                                                     6            apply to all arbitration actions:
                                                     7             The Federal Rules of Evidence shall apply in all cases;
                                                     8             The parties shall be entitled to all discovery rights permitted by the
                                                     9                 Federal Rules of Civil Procedure;
                                                    10             The parties shall be entitled to bring motions under Rules 12 and/or
                                                    11                 56 of the Federal Rules of Civil Procedure;
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                                                                   The arbitration shall occur within 180 days from the date on which
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                                                    12
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                                                    13                 the arbitrator is appointed, and shall last no more than five business
                                                    14                 days; and
                                                    15             The parties shall be allotted equal time to present their respective
                                                    16                 cases, including cross-examinations.
                                                    17                      Except as provided below for Louisiana residents, all arbitration
                                                    18            proceedings shall be held in Cheyenne, Wyoming. There shall be one
                                                    19            arbitrator . . . . Each party to the arbitration shall be responsible for its
                                                    20            own costs and expenses of arbitration, including legal and filing fees.
                                                    21            The decision of the arbitrator shall be final and binding . . . .
                                                    22                      The parties and the arbitrator shall maintain the confidentiality
                                                    23            of the entire arbitration process and shall not disclose to any person not
                                                    24            directly involved in the arbitration process: [the dispute and claim,
                                                    25            testimony and evidence, award, or rulings] . . . .
                                                    26                      Notwithstanding the foregoing, nothing in these Policies and
                                                    27            Procedures shall prevent either party from applying to and obtaining
                                                    28            from any court having jurisdiction a writ of attachment, a temporary

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                                                     1            injunction, preliminary injunction, permanent injunction, or other
                                                     2            relief available to safeguard and protect its intellectual property rights
                                                     3            and/or to enforce its rights under the non-solicitation provision of the
                                                     4            Agreement. [Lyon Decl. ¶ 6, Ex. 30 (Policies and Procedures).]
                                                     5            The First Amendment contains the same detailed arbitration provision as the
                                                     6   Policies and Procedures, but the venue and choice of law was changed to
                                                     7   California. [Lyon Decl. ¶ 7, Ex. 31 (First Amendment).]
                                                     8            C.        Plaintiffs’ Relationships and Agreements with LLR
                                                     9                      1.   Each Plaintiff’s Agreement and Onboarding Process
                                                    10            LLR’s contractual relationship with a Retailer begins when the parties enter
                                                    11   into a Retailer Agreement. [Alvarez Decl. ¶ 4.] Of the twenty-two plaintiffs in this
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                                                    12   action, each is or was an LLR Retailer and signed her own Retailer Agreement.
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                                                    13   Two of the twenty-two Plaintiffs signed version 3.0 of the Retailer Agreement,
                                                    14   fifteen signed version 4.0 of the Retailer Agreement, and five signed version 6.5.1
                                                    15   of the Retailer Agreement. [Alvarez Decl. ¶¶ 16-17, 21, 24, 26, 28, 31, 33, 36, 38,
                                                    16   40, 43, 46, 48, 51, 54, 57, 60, 63, 66, 69, 72, 75, Exs. 33, 33A, 35-52, 54-56; Lyon
                                                    17   Decl. ¶ 3-5, Exs. 27-29.] The exact process of contract submission depends on the
                                                    18   timeframe of the Retailer Agreement, as the process was somewhat less automated
                                                    19   until September 2016. [Alvarez Decl. ¶¶ 4-13.]
                                                    20                           a.    Contracting Before September 2016
                                                    21            Before September 2016, potential Retailers often received a copy of the
                                                    22   Retailer Agreement from an existing Retailer and then electronically submitted at
                                                    23   least the first page (with the potential new Retailer’s information) and the last page
                                                    24   (with the potential new Retailer’s signature) of the Retailer Agreement to
                                                    25   onboarding@lularoe.com. [Id. ¶ 7.] The existing Retailer also was tasked with
                                                    26   training the new Retailer and providing access to documents and information, such
                                                    27   as the Policies and Procedures. [Id. ¶ 4, 7.] Individuals could also inquire directly
                                                    28   with LLR, Inc. about becoming a Retailer, in which case a member of the

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                                                     1   Enrollment/Retail Support Department would send those individuals the Retailer
                                                     2   Agreement and/or other information upon request, such as LLR Inc.’s Policies and
                                                     3   Procedures. [Id. ¶ 9.] This process was in place for the seventeen Plaintiffs who
                                                     4   signed Retailer Agreement versions 3.0 and 4.0.
                                                     5                        b.    Contracting After September 2016 – DocuSign
                                                     6            In September 2016, the onboarding process became more automated when
                                                     7   LLR, Inc. began utilizing the electronic document system, DocuSign, to manage the
                                                     8   enrollment process. [Id. ¶ 10.] With the DocuSign system, upon expressing interest
                                                     9   in becoming a Retailer, an existing Retailer sends the potential new Retailer an
                                                    10   email with a hyperlink to an application page (“Application Page”), which includes
                                                    11   links to the Retailer Agreement, the Policies and Procedures, the First Amendment
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                                                    12   (after it was issued), and other documents. [Id., Ex. 32] Applicants are then asked to
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                                                    13   agree to the terms of these documents, by clicking the “I agree” button located on
                                                    14   the Application Page. [Id.] Applicants are asked for identifying information, which
                                                    15   is submitted to DocuSign and auto-filled in the Retailer Agreement. [Id.] The
                                                    16   Retailer Agreement is then sent to the applicant by email for review, and the
                                                    17   applicant is asked to electronically sign the Retailer Agreement by clicking a box.
                                                    18   [Id. ¶ 11.]
                                                    19            Once the applicant has electronically signed the Retailer Agreement and
                                                    20   placed his or her first order, LLR, Inc. countersigns the agreement (through
                                                    21   checking a box) and a Certificate of Completion is generated by the DocuSign
                                                    22   program, showing the date and time that both parties electronically executed the
                                                    23   agreement. [Id. ¶ 12.] Then a copy of the fully executed Retailer Agreement, the
                                                    24   Policies and Procedures, and the First Amendment are forwarded to the new
                                                    25   Retailer from the DocuSign program. [Id.] This process was in place for the five
                                                    26   Plaintiffs who signed Retailer Agreement version 6.5.1.
                                                    27                        c.    Onboarding
                                                    28            Under both the DocuSign system and the system prior to September 2016,

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                                                     1   after the Retailer Agreement is received from the potential new Retailer, the
                                                     2   Retailer is contacted by a member of the Enrollment/Retail Support Department to
                                                     3   assist him or her in beginning business with LLR, Inc., including providing access
                                                     4   to the “Back Office”—a portal on LLR Inc.’s website accessible by individual login
                                                     5   information—and making an initial order of products. [Id. ¶ 14.]
                                                     6                      2.   Policies and Procedures
                                                     7            While there are terms that vary between the three versions of the Retailer
                                                     8   Agreement, all versions explicitly incorporate by reference several documents,
                                                     9   including the “LuLaRoe Policies and Procedures.” [Lyon Decl. ¶ 3, Ex. 27 (Ret.
                                                    10   Agmt. version 3.0 at § 13); ¶ 4, Ex. 28 (Ret. Agmt. version 4.0 at § 15); ¶ 5, Ex. 29
                                                    11   (Ret. Agmt. version 6.5.1 at § 11).] All of the plaintiffs (except Patton and McGurn,
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                                                    12   who signed Retailer Agreement version 3.0) agreed in the Retailer Agreement that
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                                                    13   they have “read and agree[] to comply with the LLR Inc. Policies and Procedures . .
                                                    14   . which are incorporated into and made a part of this Agreement.”3 [Lyon Decl.
                                                    15   ¶¶ 3-4, Exs. 28-29 (Ret. Agmt. version 4.0 at § 5 and Ret. Agmt. version 6.5.1 at §
                                                    16   11).] The Policies and Procedures state they are in place to “Establish Company
                                                    17   policy and define the contractual relationship between the Company and its
                                                    18   Independent Fashion Consultants. . . .” [Lyon Decl. ¶ 6, Ex. 30.]
                                                    19            The Policies and Procedures, which contain an arbitration agreement, are
                                                    20   available to the Retailer in a variety of ways: from LLR on request; on the Back
                                                    21   Office at www.backoffice.mylularoe.com/login; from the referring Retailer; as part
                                                    22   of the DocuSign process; and via group emails. [Declaration of Summer Johnson
                                                    23   (“Johnson Decl.”) ¶¶ 3-4, Ex. 1; Alvarez Decl. ¶ 7; Lyon Decl. ¶ 6; Santillana Decl.
                                                    24   ¶ 4.] Through the Back Office, Retailers can input and update their personal
                                                    25   information, place orders for LuLaRoe-branded products, and access historical
                                                    26   3
                                                           Retailer Agreement versions 4.0 and 6.5.1 also provided the Retailer with
                                                    27   additional time after execution to cancel the agreement. [Lyon Decl. ¶¶ 4-5, Exs.
                                                         29, 28 (Ret. Agmt. version 6.5.1 at § 11; Ret. Agmt. version 4.0 at § 5 (minor
                                                    28   variations in language)).] Retailers could also terminate their Retailer Agreement
                                                         thereafter. [Lyon Decl. ¶¶ 4-5, Exs. 28 (§ 24), 29 (§ 32).]
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                                                     1   order information and LLR documents, including training and marketing materials.
                                                     2   [Declaration of Austin Stidham (“A. Stidham Decl.”) ¶ 2.] The current Retailer
                                                     3   Agreement, the Policies and Procedures, and the First Amendment (after it was
                                                     4   adopted) were and are all available to Retailers in the Back Office. [Lyon Decl.
                                                     5   ¶¶ 5-7, Exs. 29-31; A. Stidham Decl. ¶ 3.] After placing their initial product order,
                                                     6   Retailers generally place orders for LuLaRoe-branded products on the Back Office,
                                                     7   and each of the Plaintiffs had access to the Back Office. [A. Stidham Decl. ¶ 2.]
                                                     8            The Policies and Procedures cannot be missed as they are also mentioned by
                                                     9   name throughout the Retailer Agreement, specifically in Retailer Agreement
                                                    10   version 3.0 at sections 6, 11, and 13, in version 4.0 at sections 5, 8, 15, 19, 21 and
                                                    11   in version 6.5.1 at sections 8, 11, 13, 15, 25. The Retailer Agreements make clear
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                                                    12   that the governing documents, including the Policies and Procedures “may . . . be
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                                                    13   amended at the sole discretion of LuLaRoe and any changes or amendments will
                                                    14   become effective upon written notice . . . .” [Lyon Decl. at ¶ 3, Ex. 27 (Ret. Agmt.
                                                    15   version 3.0 § 6); ¶ 4, Ex. 28 (Ret. Agmt. version 4.0 § 8)(similar); ¶ 5, Ex. 29 (Ret.
                                                    16   Agmt. version 6.5.1 § 13)(similar).] Section 1.3 of the Policies and Procedures
                                                    17   provides that amendments “shall be effective thirty (30) days after publication of
                                                    18   notice that the Agreement has been modified” and that notice includes, among other
                                                    19   things, “[p]osting on the official Company website”, which occurred when the First
                                                    20   Amendment was posted on or about October 14, 2016. [Id. ¶¶ 6-7, Ex. 30, § 1.3,
                                                    21   Ex. 31.] The First Amendment was available to all Retailers as it was posted on the
                                                    22   Back Office, plus, as to at least 18 of the plaintiffs, LLR can demonstrate receipt of
                                                    23   the First Amendment they were sent emails that attached it or DocuSign contracts
                                                    24   and documents after the First Amendment.4 [Alvarez Decl. ¶¶ 26, 36, 38, 40, 75,
                                                    25   Exs. 37, 41-43, 56; Santillana Decl. ¶¶ 5-7.]
                                                    26
                                                         4
                                                    27     The other four Plaintiffs (Brown, Bluder, Lien, and Patton) had provable access to
                                                         the First Amendment, because they made purchases in the Back Office after the
                                                    28   First Amendment was posted on or about October 14, 2016. [A. Stidham Decl.
                                                         ¶¶ 10, 13, 16, 25, Exs. 64, 67, 70, 79.]
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                                                     1            D.        Plaintiffs’ Complaint
                                                     2            This action was commenced on October 13, 2017, when four of the Plaintiffs
                                                     3   filed a complaint alleging that LuLaRoe, LLC and LLR, Inc. did not comply with
                                                     4   their refund policies arising out of their Retailer Agreements. [Dkt. 1.] The
                                                     5   Defendants named in that complaint responded on December 27, 2017 with a
                                                     6   motion to dismiss and compel individual arbitration. [Dkt. 36.]
                                                     7            On January 12, 2018, Plaintiffs filed a first amended putative class action
                                                     8   complaint that added new claims, 18 additional named Plaintiffs, and two
                                                     9   individual Defendants (LuLaRoe founders and officers, Mark Stidham and DeAnne
                                                    10   Brady (Stidham)). [Dkt. 45.] Plaintiffs allege “Plaintiffs and the Class entered into
                                                    11   contractual agreements with Defendants to become Consultants . . .” [Id. at ¶ 181.]
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                                                    12   They assert claims against all Defendants, including Violation of Business &
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                                                    13   Professions Code section 17200, et seq., Violation of Business & Professions Code
                                                    14   section 17500, et seq., Quasi-contract, Breach of Contract, Breach of the Covenant
                                                    15   of Good Faith and Fair Dealing, Conversion, Endless Chain Scheme violations, and
                                                    16   violation of the Seller Assisted Marketing Plan Act, alleging that Defendants
                                                    17   violated promises to buy back Plaintiffs’ inventory for 100% of costs, along with
                                                    18   shipping expenses, are operating a pyramid scheme, and are violating a California
                                                    19   act about the sale of business opportunities.
                                                    20            Both complaints were filed in disregard of Plaintiffs’ agreements to first
                                                    21   mediate, then arbitrate their disputes. Following several procedural skirmishes over
                                                    22   whether the amended complaint was properly filed, on March 1, 2018, the Court
                                                    23   allowed the amended complaint to serve as the operative pleading. The court
                                                    24   denied Defendants’ initial arbitration motion as moot due to Plaintiffs’ filing of the
                                                    25   first amended complaint, thus allowing Defendants to file another arbitration
                                                    26   motion directed to the amended complaint. [Dkt. 74.]
                                                    27
                                                    28

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                                                     1   III.     LEGAL ARGUMENT
                                                     2            More than three decades of Supreme Court precedent supports a “‘liberal
                                                     3   federal policy favoring arbitration agreements’” under the Federal Arbitration Act.
                                                     4   Ziober v. BLB Res., Inc., 839 F.3d 814, 816 (9th Cir. 2016), cert. denied, 137 S. Ct.
                                                     5   2274 (2017) (citing Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp., 460
                                                     6   U.S. 1, 24 (1983)). “Because arbitration is fundamentally a matter of contract, ‘the
                                                     7   central or ‘primary’ purpose of the FAA is to ensure that ‘private agreements to
                                                     8   arbitrate are enforced according to their terms.’’” Momot v. Mastro, 652 F.3d 982,
                                                     9   986 (9th Cir. 2011) (citations omitted); 9 U.S.C. §§ 2-4.
                                                    10            The Court’s role under the FAA is “limited to determining (1) whether a
                                                    11   valid agreement to arbitrate exists and, if it does, (2) whether the agreement
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                                                    12   encompasses the dispute at issue.” Chiron Corp. v. Ortho Diagnostic Sys., Inc., 207
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                                                    13   F.3d 1126, 1130 (9th Cir. 2000) (citations omitted); 9 U.S.C. § 4.
                                                    14            The broad arbitration provision agreed to by each of the Plaintiffs governs all
                                                    15   of their claims and thus requires that these claims, which “aris[e] out of or relat[e]
                                                    16   to the Agreement,” must be resolved in arbitration. Fed. R. Civ. Proc. 12(b)(1).
                                                    17   [Lyon Decl. ¶¶ 4-7, Exs. 28-31 (Ret. Agmt. version 4.0, § 21; Ret. Agmt. version
                                                    18   6.5.1, § 25; Policies and Procedures § 6.4, and First Amendment, p. 1).]
                                                    19            A.        The FAA governs the arbitration provision
                                                    20            The FAA applies to any “written arbitration provision in ‘a contract
                                                    21   evidencing a transaction involving commerce.’”5 Allied-Bruce Terminix Companies,
                                                    22   Inc. v. Dobson, 513 U.S. 265, 268 (1995) (italics added in original) (citing 9 U.S.C.
                                                    23   § 2). This phrase is to be read ‘broadly,’ extending the FAA’s reach “to the limits of
                                                    24   Congress’ Commerce Clause power.” Id. Here, LLR’s Retailer network extends to
                                                    25   all 50 states and abroad. [M. Stidham Decl. ¶ 5.] Indeed, Plaintiffs reside in and
                                                    26   conducted business from various states including California, New Jersey, Oregon,
                                                    27
                                                         5
                                                    28     “Commerce” is defined in 9 U.S.C. § 1 as, among other things, “commerce among
                                                         the several States” or interstate commerce.
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                                                     1   Hawaii, Arizona, Oklahoma, Florida, Wyoming, New York, Pennsylvania, Nevada.
                                                     2   [Dkt. 45 ¶¶ 9-30.] There is no doubt that the agreement with each of the Plaintiffs
                                                     3   evidences “a transaction involving commerce.”
                                                     4            Even with the inclusion of a general California choice-of-law provision, the
                                                     5   FAA still governs where there is not a “clear and unmistakable” intent that the FAA
                                                     6   should not be applied. Villarreal v. Perfection Pet Foods, LLC, No.
                                                     7   116CV01661LJOEPG, 2017 WL 1353802, at *2 (E.D. Cal. Apr. 10, 2017); see
                                                     8   Wolsey, Ltd. v. Foodmaker, Inc., 144 F.3d 1205, 1210, 1213 (9th Cir. 1998) (FAA
                                                     9   rather than CAA applied even where parties’ agreement provided that California
                                                    10   law would apply); Sovak v. Chugai Pharm. Co., 280 F.3d 1266, 1270 (9th Cir.
                                                    11   2002). The Retailer Agreements here have no such “clear and unmistakable”
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                                                    12   statement. [Lyon Decl. ¶¶ 3-7, Exs. 27-31 (Ret. Agmt. version 3.0 at § 16; Ret.
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                                                    13   Agmt. version 4.0 at § 21; Ret. Agmt. version 6.5.1 at § 25; Policies and Procedures
                                                    14   § 6.5; First Amendment, p. 2).]
                                                    15            B.        Plaintiffs are bound by an enforceable arbitration provision
                                                    16                      1.    Plaintiffs have accepted the arbitration provision
                                                    17            As set forth above, each Plaintiff signed a Retailer Agreement, which
                                                    18   contains—on its face or in the Policies and Procedures—an unambiguous
                                                    19   agreement to arbitrate any dispute “arising from or relating to” the Retailer
                                                    20   Agreement. [Lyon Decl. ¶¶ 4-7, Exs. 28-31 (Ret. Agmt. version 4.0 at § 21; Ret.
                                                    21   Agmt. version 6.5.1 at § 25; Policies and Procedures § 6.4, and First Amendment,
                                                    22   p. 1).] Plaintiffs with versions 4.0 and 6.5.1 of the Retailer Agreement are required
                                                    23   by the body of the Retailer Agreement itself to arbitrate their claims. As explained
                                                    24   below, the remaining two Plaintiffs (McGurn and Patton) are also obligated to
                                                    25   arbitrate their claims based on the Policies and Procedures that are incorporated into
                                                    26   their contracts.
                                                    27            California general contract law governs whether the parties’ agreement is
                                                    28   valid, providing that law does not purport to create defenses that are specific to

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                                                     1   arbitration agreements. Monex Deposit Co. v. Gilliam, 671 F. Supp. 2d 1137, 1142
                                                     2   (C.D. Cal. 2009); 9 U.S.C. § 2 (agreement to arbitrate shall be enforceable “save
                                                     3   upon such grounds as exist at law or in equity for the revocation of any contract.”);
                                                     4   AT&T Mobility LLC v. Concepcion (“Concepcion”), 563 U.S. 333, 339 (2011)
                                                     5   (defenses that apply only to arbitration are preempted by the FAA). Where a party
                                                     6   signs the agreement, its acceptance of the agreement is express. Pinnacle Museum
                                                     7   Tower Assn. v. Pinnacle Mkt. Dev. (US), LLC, 55 Cal. 4th 223, 236 (2012).
                                                     8   Plaintiffs’ acceptances of the Retailer Agreement were express as they signed (in
                                                     9   writing or electronically) and submitted the agreement to onboarding@lularoe.com
                                                    10   or via DocuSign, and, moreover, alleged that they each “entered into contractual
                                                    11   agreements with Defendants to become Consultants . . .” [Alvarez Decl. ¶¶ 7, 9;
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                                                    12   Dkt. 45 ¶ 181.]
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                                                    13            By agreeing to the Retailer Agreement, Plaintiffs also agreed to be bound by
                                                    14   the Policies and Procedures. Under California law, parties may incorporate by
                                                    15   reference the terms of another document as long as: (1) the reference is clear and
                                                    16   unequivocal, (2) the reference is called to the attention of the other party and he
                                                    17   consents thereto, and (3) the terms of the incorporated document are known or
                                                    18   easily available to the contracting parties. Wolschlager v. Fidelity Nat. Title Ins.
                                                    19   Co., 111 Cal. App. 4th 784, 787, 790 (2003). Where an incorporated document
                                                    20   contains an arbitration provision, the document and provision are binding on a party
                                                    21   even if that party did not have or see them at the time of an agreement. Id. at
                                                    22   791(consumer of title policy bound by its arbitration agreement even though he did
                                                    23   not have the title policy—the preliminary title report generically referenced the
                                                    24   policy and that it was available at the insurer’s office); see also Miguel v.
                                                    25   JPMorgan Chase Bank, N.A., No. CV 12-3308 PSG PLAX, 2013 WL 452418, at
                                                    26   *4 (C.D. Cal. Feb. 5, 2013) (bank’s incorporation by reference of arbitration
                                                    27   agreement valid and plaintiff “cannot claim that he failed to review the provisions
                                                    28   of the Arbitration Agreement where he signed a document to indicate that he read

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                                                     1   it.”); Amirhamzeh v. Wells Fargo Bank, N.A., No. 14-CV-02123-VC, 2014 WL
                                                     2   12610227, at *2 (N.D. Cal. Oct. 31, 2014) (consumer received arbitration provision
                                                     3   after joining and did not cancel after receipt, showing acceptance).
                                                     4            Here, each Plaintiff signed the Retailer Agreement that clearly and
                                                     5   unequivocally states that it includes and incorporates by reference, among other
                                                     6   things, the “LuLaRoe Policies and Procedures” and repeatedly refers to those
                                                     7   Policies and Procedures. [Lyon Decl. ¶ 3, Ex. 27 (Ret. Agmt. version 3.0 at § 13);
                                                     8   ¶ 4, Ex. 28 (Ret. Agmt. version 4.0 at § 15); ¶ 5, Ex. 29 (Ret. Agmt. version 6.5.1 at
                                                     9   § 11).] And all Plaintiffs, except McGurn and Patton, affirmatively represented that
                                                    10   they “read and agree[d] to comply with the LLR Inc. Policies and Procedures . . .
                                                    11   which are incorporated into and made a part of this Agreement.” [Lyon Decl. ¶¶ 4-
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                                                    12   5, Exs. 28, 29 (Ret. Agmt. version 4.0 at § 5 and Ret. Agmt. version 6.5.1 at §11).]
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                                                    13   The Policies and Procedures, and amendments, were always, at minimum, available
                                                    14   to each Retailer on the Back Office (intranet), on request from LLR, and from the
                                                    15   Retailer who referred the new Retailer to LLR. [Johnson Decl. ¶ 3; Lyon Decl. ¶ 6;
                                                    16   Alvarez Decl. ¶ 7.] In addition, the Retailers with version 6.5.1 of the Retailer
                                                    17   Agreement received a link to the Policies and Procedures (that they affirmatively
                                                    18   agreed to) before they signed the Retailer Agreement. [Alvarez Decl. ¶ 10.] Plus,
                                                    19   LLR has email or DocuSign evidence that at least 20 of the Plaintiffs received
                                                    20   emails referencing and attaching or providing a location for the Policies and
                                                    21   Procedures or the First Amendment. [Alvarez Decl. ¶¶ 26, 36, 38, 40, 75, Exs. 37,
                                                    22   41-43, 56; Santillana Decl. ¶¶ 4-7.] Plaintiffs’ declarations submitted on the first
                                                    23   filing of this motion shows that Retailers knew how to obtain information from
                                                    24   LLR, as each of the original four testified that they were instructed by LLR through
                                                    25   “webinars, materials on-line, videos and my up-line [Retailer].” [See, e.g., Dkt. 49-
                                                    26   2, ¶ 5.]
                                                    27            Plaintiffs have also accepted the arbitration provision of the First
                                                    28   Amendment as they had the same access to the amendment as the Policies and

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                                                     1   Procedures—on the Back Office—and, at minimum, were notified of the
                                                     2   amendment pursuant to the Policies and Procedures when it was posted on the Back
                                                     3   Office. [Lyon Decl. ¶¶ 6-7, Exs. 30-31.] Plaintiffs implicitly conceded this point by
                                                     4   pleading why they brought their action in this court in the original complaint.
                                                     5   [Complaint ¶ 6 (“Defendants . . . have a forum selection clause . . . which selects
                                                     6   the Central District of California as the venue.”).] The First Amendment includes a
                                                     7   California jurisdiction and venue clause. [Lyon Decl. ¶ 7, Ex. 31. p. 2 (First
                                                     8   Amendment); ¶ 5, Ex. 29 (Ret. Agmt. 6.5.1,§§ 25-26 (calling for same)).]
                                                     9            That they did not separately sign the Policies and Procedures or the First
                                                    10   Amendment does not change the enforceability of the arbitration provisions in those
                                                    11   documents. A party’s “acceptance of an arbitration agreement does not depend
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                                                    12   upon whether she signed—or even upon whether she read—the agreement.”
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                                                    13   Amirhamzeh, 2014 WL 12610227, at *2 (consumer accepted arbitration agreement
                                                    14   by continuing service, though she did not receive materials that included the
                                                    15   arbitration agreement until after enrolling in the service). Indeed, neither the FAA
                                                    16   nor California contract law requires a signed arbitration agreement. Nghiem v. NEC
                                                    17   Elec., Inc., 25 F.3d 1437, 1439 (9th Cir. 1994) (the FAA does not require a signed
                                                    18   writing and allows an agreement to arbitrate to be implied from the parties’
                                                    19   conduct); Pinnacle Museum Tower Assn., 55 Cal. 4th at 236 (same, and even if the
                                                    20   party never read the arbitration clause).
                                                    21            A party’s acceptance can be implied by his actions after receipt of the
                                                    22   agreement. For example, in Quiroz v. Cavalry SPV I, LLC, 217 F. Supp. 3d 1130,
                                                    23   1135 (C.D. Cal. 2016), the parties’ card agreement, which contained an arbitration
                                                    24   clause, expressly provided that a consumer agreed to its terms by opening or using
                                                    25   an account. The court held that a consumer entered into an enforceable agreement
                                                    26   to arbitrate by opening and using an account and failing to follow the specified
                                                    27   procedure to opt-out of the arbitration agreement. Id. at 1135-36.
                                                    28            Here, section 1.3 of the Policies and Procedures provides that amendments

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                                                     1   “shall be effective thirty (30) days after publication of notice that the Agreement
                                                     2   has been modified.” [Lyon Decl. ¶ 6, Ex. 30, § 1.3.] Once notified, the Retailer may
                                                     3   then accept or reject the amendments. [Id.] If they elect to reject any amendment,
                                                     4   their Agreement with LLR would be cancelled. [Id.] The First Amendment
                                                     5   reiterates the same. [Lyon Decl. ¶ 7, Ex. 31, p. 3.] Section 1.3 of the Policies and
                                                     6   Procedures further provides that if the Retailer continues to purchase or sell LLR
                                                     7   products, accepts commission or bonus payments, or enrolls new Retailers after
                                                     8   receiving notice of the amendments, “such actions shall be deemed acceptance of
                                                     9   any amendments.” [Id.]
                                                    10            Here, none of the Plaintiffs rejected LLR’s amendments. Also, Plaintiffs
                                                    11   (except Hayton and McGurn) further manifested their acceptance by continuing to
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                                                    12   purchase products from LLR after October 14, 2016, the date of posting of the First
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                                                    13   Amendment.6 [A. Stidham Decl. ¶ 8-27, Exs. 62-81.]
                                                    14                      2.   The arbitration provision encompasses this dispute
                                                    15            “[A]s a matter of federal law, any doubts concerning the scope of arbitrable
                                                    16   issues should be resolved in favor of arbitration....” Chiron Corp., 207 F.3d at 1131
                                                    17   (citation and quotation marks omitted). The scope of the claims governed by an
                                                    18   arbitration clause also depends on the language used in the clause. Cayanan v. Citi
                                                    19   Holdings, Inc., 928 F. Supp. 2d 1182, 1207 (S.D. Cal. 2013). While the phrase
                                                    20   “arising out of” has been “‘narrowly construed’ to encompass disputes ‘relating to
                                                    21   the interpretation and performance of the contract itself,’ . . . the inclusion of the
                                                    22   phrase ‘relating to’ should lead to a broader interpretation.” Id. (citing Cape
                                                    23   Flattery Ltd. v. Titan Maritime, LLC, 647 F.3d 914, 922 (9th Cir. 2011)).
                                                    24            Here, the arbitration provision broadly governs “any controversy or claim
                                                    25   arising out of or relating to the Agreement, or the breach thereof.” [Lyon Decl. Exs.
                                                    26   28-31 (First Amendment, p. 1 (emphasis added); Policies & Procedures § 6.4; Ret.
                                                    27
                                                         6
                                                    28    Hayton and McGurn, however, like most of the Plaintiffs, individually received
                                                         emails attaching the First Amendment. [Santillana Decl. ¶¶ 5-7, Exs. 59-61.]
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                                                     1   Agmt. version 4.0, § 21; Ret. Agmt. version 6.5.1, § 25).] Plaintiffs’ claims, which
                                                     2   focus on LLR’s bonus policy, buyback policy, and creation of the Retailer
                                                     3   relationship undoubtedly arise out or relate to the Retailer Agreement or a breach
                                                     4   thereof. See Cayanan, 928 F. Supp. 2d at 1207-08 (where defendants’ alleged
                                                     5   conduct was directly related to parties’ contract, a statutory tort claim was subject
                                                     6   to arbitration). The purported class includes those “who were contracted with any of
                                                     7   the Defendants as Consultants” during a certain time period. [Dkt. 45 ¶¶ 145.] Most
                                                     8   of the claims (violation of sections 17200 and 17500, unjust enrichment, breach of
                                                     9   contract and good faith and fair dealing, and conversion) relate to purported
                                                    10   changes in Defendants’ refund policy, which is contained in the Policies and
                                                    11   Procedures and is a part of the Retailer Agreements. [Id. ¶¶ 162; 169, 172, 177,
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                                                    12   181, 186, 198.] Lyon Decl. Exs. 28-30 (§ 5 of Ret. Agmt. version 4.0 and § 11 of
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                                                    13   Ret. Agmt. version 6.5.1; Policies and Procedures § 3.16.3).] The claims that LLR
                                                    14   is a pyramid scheme are based on allegations regarding requirements for inventory
                                                    15   purchases, which stem from language in the Policies and Procedures and were
                                                    16   allegedly encouraged by the Bonus Plan, both of which are incorporated into the
                                                    17   Retailer Agreement. [Dkt. 45 ¶ 48, 71, 77-82; Lyon Decl. ¶¶ 3-5, Exs. 27-29 (Ret.
                                                    18   Agmt. version 3.0 at § 13; Ret. Agmt. version 4.0 at § 15; Ret. Agmt. version 6.5.1
                                                    19   at § 11).] Finally, Plaintiffs’ SAMP Act claim is based on the Retailer Agreements
                                                    20   because they allege the agreements and resulting relationships were not properly
                                                    21   registered, disclosed, or worded. [Dkt. 45 ¶ 213.]
                                                    22                      3.   No generally applicable contract defense invalidates the
                                                    23                           arbitration provision
                                                    24            Courts must enforce arbitration agreements according to their terms unless
                                                    25   the party opposing a motion to compel can carry its burden of showing that a
                                                    26   “generally applicable contract defense[] such as fraud, duress, or unconscionability”
                                                    27   invalidates the arbitration agreement. AT&T Mobility LLC v. Concepcion
                                                    28   (“Concepcion”), 563 U.S. 333, 339 (2011).

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                                                     1            “The party resisting arbitration bears the burden of proving
                                                     2   unconscionability.” Pinnacle Museum Tower Assn., 55 Cal. 4th at 247. The
                                                     3   evaluation is “highly dependent on context,” and the court must consider “all
                                                     4   relevant circumstances” including the “commercial setting, purpose, and effect” of
                                                     5   the contract or provision. Sanchez v. Valencia Holding Co., LLC, 61 Cal. 4th 899,
                                                     6   911-912 (2015). Courts are, for example, more protective of employees, because
                                                     7   “jobseekers are more likely to face ‘particularly acute’ economic pressure to sign an
                                                     8   employment contract with a predispute arbitration provision, ‘for the arbitration
                                                     9   agreement stands between the employee and necessary employment, and few
                                                    10   employees are in a position to refuse a job because of an arbitration requirement.’”
                                                    11   Id. at 919 (citing Armendariz v. Foundation Health Psychcare Servs., 24 Cal. 4th
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                                                    12   83, 115 (2000)). Consumers “would seem to require measurably less protection,”
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                                                    13   because they “face significantly less economic pressure.” Id. (citing Gutierrez v.
                                                    14   Autowest, Inc., 114 Cal. App. 4th 77, 97 (2003)). Where two merchants agree to
                                                    15   arbitrate their disputes, procedural unconscionability is even less likely. Uptown
                                                    16   Drug Co. v. CVS Caremark Corp., 962 F. Supp. 2d 1172, 1181-82 (N.D. Cal.
                                                    17   2013); Morris v. Redwood Empire Bancorp, 128 Cal. App. 4th 1305, 1311, 1322
                                                    18   (2005) (no procedural unconscionability in agreement between bank and elderly
                                                    19   disabled man with a “work at home business” because “it is reasonable to expect
                                                    20   even an unsophisticated businessman to carefully read, understand, and consider all
                                                    21   the terms of an agreement affecting [] a vital aspect of his business.”).
                                                    22             Even where one party has superior bargaining strength, a “contract can
                                                    23   provide a ‘margin of safety’ that provides the party with superior bargaining
                                                    24   strength a type of extra protection for which it has a legitimate commercial need
                                                    25   without being unconscionable.” Baltazar v. Forever 21, Inc., 62 Cal. 4th 1237,
                                                    26   1250 (2016) (citing Armendariz, 24 Cal. 4th at 117). Courts “have used various
                                                    27   nonexclusive formulations to capture the notion that unconscionability requires a
                                                    28   substantial degree of unfairness beyond ‘a simple old-fashioned bad bargain.’”

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                                                     1   Baltazar, 62 Cal. 4th at 1245 (italics in original). “This latter qualification is
                                                     2   important” because “[c]ommerce depends on the enforceability, in most instances,
                                                     3   of a duly executed written contract” and cannot allow a party to “avoid a
                                                     4   contractual obligation merely by complaining that the deal, in retrospect, was unfair
                                                     5   or a bad bargain.” Id.
                                                     6            In California, a contract clause is unconscionable only if it is both
                                                     7   procedurally and substantively unconscionable. Armendariz, 24 Cal. 4th at 99
                                                     8   (articulating “general contract law principles” of unconscionability).
                                                     9                         a.     The agreement is not procedurally unconscionable
                                                    10            Whether an arbitration agreement is procedurally unconscionable depends on
                                                    11   the “circumstances of contract negotiation and formation, focusing on oppression or
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                                                    12   surprise.” Pinnacle Museum Tower Assn., 55 Cal. 4th at 246. Oppression, in turn,
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                                                    13   arises from an inequality in bargaining power that results in a lack of negotiation
                                                    14   between the parties and an absence of meaningful choice for the weaker party.
                                                    15   Roman v. Superior Court, 172 Cal. App. 4th 1462, 1469 (2009).
                                                    16            There is no oppression. See Baltazar, 62 Cal. 4th at 1245 (no oppression
                                                    17   where signator “was not lied to, placed under duress, or otherwise manipulated into
                                                    18   signing the arbitration agreement”). Where, as here, the bargaining power “is not
                                                    19   grossly unequal and reasonable alternatives exist,” the adhesive nature of the
                                                    20   contract does not automatically render it procedurally unconscionable. Roman, 172
                                                    21   Cal. App. 4th at 1470 n. 2. Indeed, the existence of a meaningful choice to do
                                                    22   business elsewhere defeats any claim of oppression. Dean Witter Reynolds, Inc. v.
                                                    23   Superior Court, 211 Cal. App. 3d 758, 768 (1989), reh’g denied and opinion
                                                    24   modified (July 21, 1989). Here, the Retailers are neither vulnerable employees nor
                                                    25   consumers; they were merchants who freely entered the Retailer Agreement to run
                                                    26   their own businesses and chose to contract with LLR or LuLaRoe for that purpose.
                                                    27   The Retailers also have meaningful choice in the form of an infinite number of
                                                    28   reasonable alternatives to start their business, including opportunities with other

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                                                     1   direct marketing companies or other apparel companies.
                                                     2            Nor was there surprise. See Baltazar, 62 Cal. 4th at 1245 (no element of
                                                     3   surprise where signator knew about the arbitration agreement; “we do not subject
                                                     4   the contract to the same degree of scrutiny as ‘[c]ontracts of adhesion that involve
                                                     5   surprise or other sharp practices.’”). Here, each Retailer was provided with a copy
                                                     6   of the Retailer Agreement (which each signed) and had access to the Policies and
                                                     7   Procedures (which was repeatedly referred to in the Retailer Agreement), which
                                                     8   contained an arbitration provision (which was then repeated with minor changes in
                                                     9   the First Amendment). By signing the Retailer Agreement, Plaintiffs (with versions
                                                    10   4.0 and 6.5.1.) also expressly agreed that she had read the Policies and Procedures
                                                    11   and had another chance to review the Policies and Procedures after signing, with an
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                                                    12   option to cancel the Retailer Agreement. Indeed, the Retailer could read the Policies
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                                                    13   and Procedures at any time, had access to these items every time the Retailer
                                                    14   entered or placed an order in the Back Office, and could cancel the Retailer
                                                    15   Agreement. [A. Stidham ¶¶ 2-3; Lyon Decl. ¶¶ 3-5, Exs. 27-29 (Ret. Agmt. version
                                                    16   3.0 at § 7; Ret. Agmt. version 4.0 at § 24; Ret. Agmt. version 6.5.1 at § 32).
                                                    17            The First Amendment drew even more attention to the arbitration provision.
                                                    18   The First Amendment is only 3 pages long, and a substantial majority of it laid out
                                                    19   terms of the parties’ arbitration agreement. The Retailers also received ample notice
                                                    20   and opportunity to review the First Amendment as it is effective 30-days after
                                                    21   publication of notice. [Lyon Decl. ¶ 6, Ex. 30 (Policies and Procedures § 1.3); ¶ 7,
                                                    22   Ex. 31 (First Amendment), p. 3; Exs. 28-29 (Ret. Agmt. version 4.0 at § 8; Ret.
                                                    23   Agmt. version 6.5.1 at § 13).
                                                    24            Plaintiffs may complain that their right to cancel after they have already paid
                                                    25   for inventory is unfair. That argument was rejected in a consumer case where the
                                                    26   customer stood to lose his entire title policy premium if he cancelled after reading
                                                    27   the arbitration agreement. Wolschlager, 111 Cal. App. 4th at 789. Since the
                                                    28   consumer could have obtained the arbitration agreement before paying his

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                                                     1   premium, his failure to do so was no defense to arbitration. Id. at 791.
                                                     2                         b.    The agreement is not substantively unconscionable
                                                     3            Substantive unconscionability arises when a provision is so “overly harsh or
                                                     4   one-sided” that it “shocks the conscience.” Pinnacle Museum Tower Assn., 55 Cal.
                                                     5   4th at 246. “Although California courts have characterized ‘substantive
                                                     6   unconscionability’ in various ways, ‘[a]ll of these formulations point to the central
                                                     7   idea that unconscionability doctrine is concerned not with ‘a simple old-fashioned
                                                     8   bad bargain’ but with terms that are ‘unreasonably favorable to the more powerful
                                                     9   party.’” Tompkins v. 23andMe, Inc., 840 F.3d 1016, 1023 (2016); Baltazar, 62 Cal.
                                                    10   4th at 1245 (“Not all one-sided contract provisions are unconscionable; hence the
                                                    11   various intensifiers in our formulations: ‘overly harsh,’ ‘unduly oppressive,’
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                                                    12   ‘unreasonably favorable.’”). A contract can provide a “margin of safety” to give the
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                                                    13   party with superior bargaining strength extra protection as long as it has a legitimate
                                                    14   commercial need. Baltazar, 62 Cal. 4th at 1250. All that is required is a “modicum
                                                    15   of bilaterality.” Armendariz, 24 Cal. 4th at 119.
                                                    16            The parties’ arbitration agreement here is mutual as it requires both parties to
                                                    17   arbitrate their disputes and includes many of the same protections as a judicial
                                                    18   tribunal, including application of the California Rules of Evidence and full
                                                    19   discovery rights. [Lyon Decl. ¶ 6, Ex. 30 (Policies and Procedures, § 6.4); ¶ 7, Ex.
                                                    20   31 (First Amendment, pp. 1-2).] While the arbitration agreement contains two
                                                    21   mutual carve-outs—one for protection of intellectual property rights and one for
                                                    22   enforcement of the non-solicitation provision—there is nothing substantively
                                                    23   unconscionable. [Lyon Decl. ¶ 6, Ex. 30 (Policies and Procedures, § 6.4); ¶ 7, Ex.
                                                    24   31 (First Amendment, p. 2).]
                                                    25            The Retailers may also have intellectual property rights in the form of their
                                                    26   own websites, customer lists, trade names, or trademarks to conduct their own
                                                    27   business. Tompkins v. 23andMe, Inc., 840 F.3d 1016, 1031 (9th. Cir. 2016). Even if
                                                    28   not entirely mutual, such carve outs are justifiable for a business purpose. Laughlin

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                                                     1   v. VMware, Inc., No. 5:11-CV-00530 EJD, 2012 WL 298230, at *6 (N.D. Cal. Feb.
                                                     2   1, 2012). Likewise, non-solicitation carve-outs are justifiable. Smith v. Vmware,
                                                     3   Inc., No. 15-CV-03750-TEH, 2016 WL 54120, at *4-5, n.3 (N.D. Cal. Jan. 5, 2016)
                                                     4   (carve out for the employer’s enforcement of non-solicitation, confidential
                                                     5   information, and inventions provisions is “reasonably justified by a business
                                                     6   purpose” and “not so one-sided as to shock the conscience”); Laughlin, 2012 WL
                                                     7   298230, at *6 (same); Loral Corp. v. Moyes, 174 Cal. App. 3d 268, 278-80 (1985)
                                                     8   (enforcing carve out regarding recruiting other employees).
                                                     9            C.        Each Defendant may enforce the arbitration provision
                                                    10            Although LuLaRoe, LLC, is not a signatory to versions 4.0 and 6.5.1 of the
                                                    11   Retailer Agreement (LLR, Inc. is) and, conversely, LLR, Inc. is not a signatory to
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                                                    12   version 3.0 of the Retailer Agreement (LuLaRoe, LLC is), each entity can
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                                                    13   nevertheless compel arbitration on all versions of the agreement because LuLaRoe,
                                                    14   LLC and LLR, Inc. are closely related and any obligations the entities purportedly
                                                    15   have to Plaintiffs arise from the Retailer Agreement. [M. Stidham Decl. ¶ 6; E.g.,
                                                    16   Dkt. 45 ¶¶1, 181.] The same holds true for the individual defendants who are
                                                    17   officers of LuLaRoe and LLR. [Dkt. 45, ¶¶ 35-36.]
                                                    18            A nonparty to an arbitration agreement may invoke arbitration under the
                                                    19   doctrine of equitable estoppel. Uptown Drug Co., Inc., 962 F. Supp. 2d at 1184.
                                                    20   This doctrine prevents a signatory from having it “both ways”; “on the one hand,
                                                    21   seek[ing] to hold the non-signatory liable pursuant to the duties imposed by the
                                                    22   agreement, which contains an arbitration provision, but, on the other hand,
                                                    23   deny[ing] arbitration’s applicability because the defendant is a non-signatory.”
                                                    24   Robinson v. Isaacs, No. 11CV1021 JLS RBB, 2011 WL 4862420, at *2 (S.D. Cal.
                                                    25   Oct. 12, 2011) (citations omitted) (complaint alleged nonsignatory defendants
                                                    26   working in concert with all defendants); see also Syscom (USA), Inc. v. Nakajima
                                                    27   USA, Inc., No. CV 14-07137-AB (JPRx), 2014 WL 12695688 *3 (C.D. Cal. Dec. 3,
                                                    28   2014) (allowing non-signatories to enforce arbitration agreement due to allegations

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                                                     1   that defendants were agents and/or alter egos of each other in “committing every act
                                                     2   alleged in the complaint.”); Amisil Holdings Ltd. v. Clarium Capital Mgmt., 622 F.
                                                     3   Supp. 2d 825, 831-41 (N.D. Cal. 2007) (nonsignatory officers and managers could
                                                     4   compel arbitration under both agency and estoppel principles).
                                                     5            Here, all of the claims are founded on the Retailer Agreements, and Plaintiffs
                                                     6   alleged that they have agreements with all the Defendants and seek to hold all
                                                     7   Defendants liable for obligations in or related to those agreements. [See Dkt. 45
                                                     8   (defining all defendants collectively as “Defendants”), ¶¶ 1, 181.] Plaintiffs conflate
                                                     9   all four Defendants throughout the complaint and raise interdependent misconduct
                                                    10   by Defendants by alleging all of them breached the agreements and by blurring the
                                                    11   line between the parties. All allegations against “Defendants” are thus made as to
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                                                    12   all of them. [E.g., Dkt. 45 ¶ 145, 154, 181.]
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                                                    13            D.        This Court may compel individual arbitration
                                                    14            As the Supreme Court recently emphasized, “courts must ‘rigorously
                                                    15   enforce’ arbitration agreements according to their terms.” Am. Express Co. v.
                                                    16   Italian Colors Rest., 570 U.S. 228, 133 S.Ct. 2304, 2309 (2013); see also Stolt-
                                                    17   Nielsen S. A. v. AnimalFeeds Int’l Corp., 559 U.S. 662, 684 (2011). Such terms
                                                    18   include the ability to limit with whom the parties choose to arbitrate. See Stolt-
                                                    19   Nielsen S. A., 559 U.S. at 683 (“We think it is also clear from our precedents and
                                                    20   the contractual nature of arbitration that parties may specify with whom they choose
                                                    21   to arbitrate their disputes.” [italics in original]) and at 684 (“a party may not be
                                                    22   compelled under the FAA to submit to class arbitration unless there is a contractual
                                                    23   basis for concluding that the party agreed to do so.” [italics in original]); Am.
                                                    24   Express Co., 133 S.Ct. at 2309 (same).
                                                    25            The Supreme Court has also observed that arbitration’s benefits—“lower
                                                    26   costs, greater efficiency and speed” –“are much less assured” in class-wide
                                                    27   arbitration, “giving reason to doubt the parties’ mutual consent” to that procedure.”
                                                    28   Stolt-Nielsen S. A., 559 U.S. at 685. “Confidentiality becomes more difficult” in

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                                                     1   class-wide arbitrations, “potentially frustrating the parties’ assumptions when they
                                                     2   agreed to arbitrate.” Id. at 686. Moreover, “commercial stakes of class-action
                                                     3   arbitration are comparable to those of class-action litigation . . . even though the
                                                     4   scope of judicial review is much more limited.” Id. The Sixth Circuit has
                                                     5   recognized that due process concerns in allowing an arbitrator’s award to bind
                                                     6   absent class members may also be problematic. Reed Elsevier, Inc. v. Crockett, 734
                                                     7   F.3d 594, 598 (6th Cir. 2013). Thus, “‘[a]rbitration is poorly suited to the higher
                                                     8   stakes of class litigation.’” Id. (citing Concepcion, 563 U.S. at 350).
                                                     9            District courts in the Ninth Circuit—including this Court—have followed
                                                    10   suit in ordering arbitration to proceed on an individual basis where the parties did
                                                    11   not explicitly agree to class arbitration. Flores v. Swift Transportation Co., No. CV
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                                                    12   14–02900 AB (Ex), 2014 WL 12639088, at *4 (C.D. Cal. Oct. 3, 2014) (even in the
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                                                    13   “absence of class waivers within Plaintiff Cecil’s agreement, this Court cannot
                                                    14   presume the parties agreed to multiparty arbitration proceedings without some
                                                    15   consensual basis.”); Chico v. Hilton Worldwide, Inc., No. CV 14–5750–JFW (SSx),
                                                    16   2014 WL 5088240, at *12 (C.D. Cal. Oct. 7, 2014) (agreement “repeatedly
                                                    17   refer[red] to Plaintiff in the singular” and there was “no contractual or other basis
                                                    18   for concluding that the parties agreed to class-wide arbitration”).
                                                    19            Here, the parties did not agree to arbitrate any claims on a class-wide basis,
                                                    20   nor does any language in the arbitration provision suggest the parties envisioned
                                                    21   anything other than individual binding arbitrations:
                                                    22                  “In the event of a dispute between Consultant and LLR Inc. . . . .”
                                                    23                      [Lyon Decl. ¶¶ 4-5, Exs. 28 (Ret. Agmt. version 4.0, § 21 [emphasis
                                                    24                      added]) and 29 (2016 Retailer Agreement, § 25).]
                                                    25                  “The parties shall be entitled to all discovery rights permitted by the
                                                    26                      California Rules of Civil Procedure.” [Lyon Decl. ¶ 7, Ex. 31 (First
                                                    27                      Amendment, p. 2); ¶ 6, Ex. 30 (Policies and Procedures, § 6.4).]
                                                    28                  “The arbitration shall occur within 180 days from the date on which

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                                                     1                      the arbitrator is appointed . . . .” [Id.]
                                                     2                  “The arbitration . . . shall last no more than 5 business days . . . .” [Id.]
                                                     3                      “The parties shall be allotted equal time to present their respective
                                                     4                      cases . . . .” [Id.].
                                                     5                  In the case of JAMS arbitration, the parties specified the Streamlined
                                                     6                      Rules that apply to smaller disputes. [Id.]
                                                     7                  “The parties and the arbitrator shall maintain the confidentiality of the
                                                     8                      entire arbitration and shall not disclose to any person not directly
                                                     9                      involved in the arbitration process:
                                                    10                         o The substance of, or basis for, the controversy, dispute, or claim;
                                                    11                         o The content of any testimony or other evidence presented at an
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                                                    12                             arbitration hearing or obtained through discovery in arbitration
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                                                    13                         o The terms or amount of any arbitration award; or
                                                    14                         o The rulings of the arbitrator on the procedural and/or substantive
                                                    15                             issues involved in the case.” [Id.]
                                                    16            Proceeding with class arbitration under these parameters would be
                                                    17   impossible. Class arbitration requires full discovery for both class and substantive
                                                    18   issues and—assuming a class is certified—would require a full trial on the merits of
                                                    19   class-wide claims and damages. Completing such a colossal effort in 180 days is
                                                    20   wholly unreasonable. Nor could such a matter—involving potentially thousands of
                                                    21   class members—be tried in a mere five days.
                                                    22            Moreover, conducting a class-wide arbitration and complying with the
                                                    23   specific confidentiality requirements set forth in the Policies and Procedures and the
                                                    24   First Amendment are mutually exclusive. [Weldon Decl. ¶ 12, Ex. 25 (JAMS Class
                                                    25   Action Procedures, Rule 4 (providing for notice of class determination to all class
                                                    26   members), Rule 6 (providing for notice of settlement to all class members)); ¶ 13,
                                                    27   Ex. 26 (AAA Supplementary Rules for Class Arbitrations, Rule 9(a) (“The
                                                    28   presumption of privacy and confidentiality in arbitration proceedings shall not

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                                                     1   apply in class arbitrations.”), Rule 9(b) (“The AAA shall maintain on its website a
                                                     2   Class Arbitration Docket of arbitrations filed as class arbitrations.”)).]
                                                     3             The parties did not agree to class-wide arbitration. Plaintiffs should be
                                                     4   ordered to arbitrate their claims on an individual basis.
                                                     5            E.        The Action Should be Dismissed or Stayed
                                                     6            The district court should compel arbitration and “stay the action or dismiss it
                                                     7   outright when, as here, the court determines that all of the claims raised in the
                                                     8   action are subject to arbitration.” Johnmohammadi v. Bloomingdale’s, Inc., 755
                                                     9   F.3d 1072, 1074 (9th Cir. 2014); 9 U.S.C. §§ 3, 4. See also Target Corporation v.
                                                    10   Wolters Kluwer Health, Inc., No. CV 15-6350-AB (FFMx) 2015 WL 12646483, at
                                                    11   *1 (C.D.Cal. Dec. 16, 2015) (dismissing action for failure to mediate). “The Federal
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                                                    12   Arbitration Act, although it does not explicitly govern the mediation clause in the
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                                                    13   parties’ contract, creates a federal policy in favor of alternative dispute resolution. .
                                                    14   . . Therefore, just as ‘any doubts concerning the scope of arbitrable issues should be
                                                    15   resolved in favor of arbitration,’ . . . the court resolves any doubts about the parties'
                                                    16   mediation clause in favor of mediation.” Centaur Corp. v. ON Semiconductor
                                                    17   Components Indus., LLC, No. 09 CV 2041 JM (BLM), 2010 WL 444715, at *3
                                                    18   (S.D. Cal. Feb. 2, 2010) (citations omitted); 9 U.S.C. § 3.
                                                    19   IV.      CONCLUSION
                                                    20            Defendants respectfully request that Plaintiffs be compelled to individually
                                                    21   arbitrate their claims and that this action be dismissed, or stayed in the alternative.
                                                    22   Dated: March 9, 2018                           SNELL & WILMER L.L.P.
                                                    23
                                                                                                        By/s/Elizabeth M. Weldon
                                                    24                                                     Elizabeth M. Weldon
                                                                                                           Attorneys for Defendants
                                                    25                                                     LuLaRoe, LLC, LLR, Inc., Mark
                                                                                                           Stidham, and DeAnne Brady
                                                    26
                                                    27
                                                    28

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                                                        2
                                                            USDC, Central District of California, Case No. 5:17-cv-02102-AB-SHK
                                                                                          CERTIFICATE OF SERVICE
                                                        3
                                                                       I hereby certify that on March 9, 2018, I electronically filed the document
                                                        4
                                                            described as DEFENDANTS’ MOTION TO COMPEL PLAINTIFFS TO
                                                        5
                                                            INDIVIDUALLY ARBITRATE AND TO DISMISS OR STAY THIS
                                                        6
                                                            ACTION; MEMORANDUM OF POINTS AND AUTHORITIES with the
                                                        7
                                                            Clerk of the Court using the CM/ECF System which will send notification of such
                                                        8
                                                            filing to the following:
                                                        9
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                                                       23      Chicago, IL 60642
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                                                       26                                                        William S. O’Hare
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                                                                                                                LuLaRoe, LLC and LLR, Inc.
                                                       28

                                                                                              CERTIFICATE OF SERVICE
                                                            4841-3096-9938.1
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                                                              3                                   PROOF OF SERVICE

                                                              4         I am employed in the County of Orange, State of California. I am over the
                                                                  age of 18 and not a party to the within action; my business address is 600 Anton
                                                              5   Boulevard, Suite 1400, Costa Mesa, CA 92626-7689.
                                                              6         On March 9, 2018, I served, in the manner indicated below, a true and correct
                                                              7   copy of the foregoing document described as Defendants’ Motion to Compel
                                                                  Plaintiffs to Individually Arbitrate and to Dismiss or Stay This Action;
                                                              8   Memorandum of Points and Authorities on the interested parties in this action:
                                                              9        See attached Service List
                                                             10    BY REGULAR MAIL: I caused such envelopes to be deposited in the United
                                                                    States mail at Costa Mesa, California, with postage thereon fully prepaid. I am
                                                             11     readily familiar with the firm’s practice of collection and processing
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                                                                    correspondence for mailing. It is deposited with the United States Postal Service
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                                                             12
                                                                    each day and that practice was followed in the ordinary course of business for the
                                                             13     service herein attested to (C.C.P. § 1013(a)).
                                                             14    BY OVERNIGHT DELIVERY:               I caused such envelopes to be delivered by air
                                                                      courier, with next day service, to the offices of the addressees. (C.C.P. § 1013(c)(d)).
                                                             15
                                                             16    BY PERSONAL SERVICE:            I caused such envelopes to be delivered by hand to
                                                                    the offices of the addressees. (C.C.P. § 1011(a)(b)).
                                                             17
                                                                   BY  ELECTRONIC MAIL: I caused such document(s) to be delivered
                                                                    electronically to the following email address(es):
                                                             18     ambere@haelaw.com; aarono@haelaw.com; samanthas@haelaw.com;
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                                                                    klandau@tcllaw.com
                                                             21
                                                                        I declare that I am employed in the office of a member of the bar of this court
                                                             22   at whose direction the service was made.
                                                             23            Executed on March 9, 2018, at Costa Mesa, California.
                                                             24
                                                             25
                                                             26                                             Diane Williams
                                                             27
                                                             28
                                                                                                                                            PROOF OF SERVICE
                                                                  4822-6714-7354.1                                              CASE NO. 5:17-CV-02102-AB-SHK
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